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10                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12
     In re: CATHODE RAY TUBE (CRT)                            Master File No. 07-5944 SC
13
     ANTITRUST LITIGATION

14                                                            MDL No. 1917
     This Document Relates to:
15
     Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
16   01173;

17   Electrograph Systems, Inc. et al. v. Technicolor SA,
     et al., No. 13-cv-05724;                                 PLAINTIFFS’ OPPOSITION TO
18                                                            DEFENDANT THOMSON
     Siegel v. Technicolor SA, et al., No. 13-cv-05261;       CONSUMER’S MOTION FOR
19                                                            SUMMARY JUDGMENT AND
     Best Buy Co., Inc. v. Technicolor SA, et al., No. 13-    PARTIAL SUMMARY
20   cv-05264;                                                JUDGMENT
21   Interbond Corporation of America v. Technicolor
     SA, et al., No. 13-cv-05727;
22                                                            The Honorable Samuel Conti
     Office Depot, Inc. v. Technicolor SA, et al., No. 13-
23   cv-05726;
                                                              HIGHLIGHTED   DOCUMENT
24
     Costco Wholesale Corporation v. Technicolor SA,          SHOWING MATERIAL SOUGHT
25
     et al., No. 13-cv-05723;                                 TO BE SEALED

26   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725
27
     Schultze Agency Services, LLC, o/b/o Tweeter
28   Opco, LLC, et al. v. Technicolor SA, Ltd., et al., No.
     13-cv-05668;




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     Sears, Roebuck and Co. and Kmart Corp. v.
1    Technicolor SA, No. 3:13-cv-05262;
2
     Target Corp. v. Technicolor SA, et al., No. 13-cv-
3    05686;
4    Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
     13-cv-00157;
5
     Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
6    No. 14-cv-02510.
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                                                  Opposition to Thomson Consumer Motion on CDT Conspiracy Evidence
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                                                                     ii
                                                                    Opposition to Thomson Consumer Motion on CDT Conspiracy Evidence
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1
                                        I.     STATEMENT OF ISSUE
2
             Whether Thomson Consumer Electronics, Inc. (“Thomson Consumer”) has established as
3
     a matter of law that no evidence exists that, when viewed in the light most favorable to the Direct
4

5    Action Plaintiffs (“DAPs”), could satisfy the “very low burden” of establishing a genuine issue

6    of fact as to whether Thomson Consumer knew of and participated in a conspiracy to fix, raise,
7
     maintain, or stabilize the price of CRTs (including both CPTs and CDTs).
8

9                                 II.        PRELIMINARY STATEMENT
10
             A. Status of Discovery and Rule 56(d)
11
             The DAPs submit this response subject to the Declaration of David M. Peterson, attached
12
     hereto as Exhibit 1, and Fed. R. Civ. P. 56(d), which provides: “If a nonmovant shows by
13

14   affidavit or declaration that, for specified reasons, it cannot present facts essential to justify its

15   opposition, the court may: (1) defer considering the motion or deny it; (2) allow time to obtain
16
     affidavits or declarations or to take discovery; or (3) issue any other appropriate order.”
17
             As explained in the Peterson Declaration, discovery from Thomson Consumer and
18
     Thomson SA is ongoing. During the relevant period, Thomson SA was the parent company to
19

20   Thomson Consumer. The deposition of Thomson Consumer and Thomson SA’s corporate

21   representatives are presently scheduled for January 8-9, 2015. Peterson Decl. ¶ 13. Thomson
22
     SA made its initial production of documents on December 5, 2014, and Thomson SA has not yet
23
     completed its document production. Peterson Decl. ¶ 12. The Court-ordered deadline for
24
     Thomson SA to complete its document production is December 23, 2014. Dkt. No. 2945.
25

26   Moreover, Thomson SA has not presented any witnesses for deposition. None of Thomson SA’s

27   current and former employees in France have been deposed, although the DAPs have actively
28
     pursued those depositions and continue to do so. Id. ¶¶ 5, 6, 11; Dkt. No. 3204-3206.

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1
             Accordingly, despite their diligence in pursuing discovery from Thomson SA and
2
     Thomson Consumer, see Peterson Decl. ¶¶ 3, 5-11, the DAPs have not had a reasonable
3
     opportunity to obtain complete discovery from Thomson Consumer and Thomson SA on facts
4

5    that may bear on Thomson Consumer’s motion for summary judgment, including the testimony

6    of both companies’ corporate representatives on topics relating to Thomson’s participation in the
7
     CRT conspiracy. Additional discovery that has been sought and remains forthcoming from
8
     Thomson SA and Thomson Consumer documents and witnesses, including Thomson
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     Consumer’s Rule 30(b)(6) witness, may yield evidence that relates to
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                                                        See Peterson Decl. ¶ 16-19.
22

23           Rather than merely requesting additional time to respond to Thomson Consumer’s

24   summary judgment motion, and in the interest of keeping the DAPs’ claims against Thomson
25
     Consumer on track for the current trial setting, the DAPs tender this partial response to Thomson
26
     Consumer’s motion based on the evidence that has been produced thus far and which the DAPs
27
     have had a reasonable opportunity to review. The DAPs respectfully submit that, even on the
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     existing record, Thomson Consumer’s motion should be denied. Nonetheless, the DAPs further
2
     respectfully submit that the Court should defer ruling on Thomson Consumer’s motion to permit
3
     the DAPs an opportunity to supplement the summary judgment record with additional evidence
4

5    and argument based on information that is discovered after this submission.

6            B. A Reasonable Juror Could Conclude That Thomson Consumer Knowingly
                Participated in a Single CDT-CPT Conspiracy
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10                Thomson Consumer does not contest this on summary judgment; it tries merely to
11
     chip away at its liability by claiming that it never knew that the CRT conspiracy in which it
12
     participated included CDTs in addition to CPTs. Thomson Consumer suggests that because
13

14   neither Thomson Consumer nor its parent, Thomson SA, manufactured CDTs or products

15   containing CDTs during the conspiracy period, conspiratorial acts and information regarding
16   CDTs would have been irrelevant to Thomson Consumer and Thomson SA (which did not move
17
     for summary judgment).
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             Thomson Consumer does not dispute that the law creates an extremely low threshold to
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11   defeat summary judgment on multi-product conspiracies.

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                                The Court should deny Thomson Consumer’s motion for summary
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17   judgment.

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                             III.STATEMENT OF UNDISPUTED FACTS
2
             A. The Undisputed Facts Show that Thomson Consumer and Thomson SA
3               Participated in the Massive, Decade-Long Global Conspiracy to Fix CRT Prices
4
         1. Thomson Consumer and Thomson SA’s conspiratorial acts are well-documented,
5           and Thomson SA has admitted a role in the conspiracy.

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18           Thomson SA’s conspiratorial acts are also highly relevant to Thomson Consumer’s
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     knowledge and participation in the CRT conspiracy.
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11           In its 2011 Annual Report to shareholders Thomson SA admitted that it “played a minor

12   role in the alleged anticompetitive conduct [regarding CRTs].”15 One year later, following a four
13
     year investigation, the European Commission fined Thomson SA €38.6 million for its
14
     supposedly “minor” role, finding that the conspiracy “operated worldwide” and was “among the
15
     most organized cartels that the Commission has investigated.” Id.16
16

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     15
        Exh. 45 (excerpt from Thomson SA’s 2011 Annual Report at 226).
28   16
        Exh. 46. Though the European Commission divided the conspiracy into CDT and CPT conspiracies, the DAPs
     allege a single conspiracy covering both CDTs and CPTs.

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7                                   IV. SUMMARY JUDGMENT STANDARD
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               Summary judgment is proper “if the movant shows that there is no genuine dispute as to
9
     any material fact and the movant is entitled to summary judgment as a matter of law.” Fed. R.
10

11   Civ. P. 56(a). “A moving party without the ultimate burden of persuasion at trial, – usually, but

12   not always, a defendant – has both the initial burden of production and the ultimate burden of
13   persuasion on a motion for summary judgment.” Nissan Fire & Marine Ins. Co. v. Fritz
14
     Companies, Inc., 210 F.3d 1099, 1102 (9th Cir. 2000).          “In order to carry its burden of
15
     production, the moving party must either produce evidence negating an essential element of the
16

17   nonmoving party’s claim or defense or show that the nonmoving party does not have enough

18   evidence of an essential element to carry its ultimate burden of persuasion at trial. Id. “In order
19   to carry its ultimate burden of persuasion on the motion, the moving party must persuade the
20
     court that there is no genuine issue of material fact.”
21
               In deciding a summary judgment motion, the Court must view the evidence in light most
22

23   favorable to the non-moving party and draw all justifiable inferences in its favor. Anderson v.

24   Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). “Credibility determinations, the weighing of the
25   evidence, and the drawing of legitimate inferences from the facts are jury functions, not those of
26
     a judge . . . ruling on a motion for summary judgment.” Id.
27

28   46
          Exh. 44 (TCE-CRT 0016517).
     47
          Exh. 19/Depo Exh. 5842 (TCE-CRT 0005029).

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1
             “In antitrust cases, these general standards are applied even more stringently and
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     summary judgments granted more sparingly. Beltz Travel Serv., Inc. v. Int’l Air. Beltz Travel
3
     Serv., Inc. v. Int'l Air Transp. Ass'n, 620 F.2d 1360, 1364 (9th Cir. 1980). Separate pieces of
4

5    antitrust conspiracy must be considered together. A court should not tightly compartmentalize

6    the non-movant’s evidence, but instead examine it as a whole for proof of concerted action.
7
     Cont'l Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962). Plaintiffs raise a
8
     genuine issue of material fact by “present[ing] significant evidence of an antitrust conspiracy that
9
     tends to exclude the possibility of independent action.” City of Long Beach v. Standard Oil Co.
10

11   of California, 872 F.2d 1401 opinion amended on denial of reh'g, 886 F.2d 246 (9th Cir. 1989),

12   106-07 (9th Cir. 1989).
13
                                  V. ARGUMENT AND AUTHORITIES
14
             Thomson Consumer has not met and cannot meet its burden to establish as a matter of
15
     law that no evidence, when viewed in the light most favorable to the DAPs, can raise a genuine
16

17   issue as to whether Thomson Consumer participated in a conspiracy that it knew included CDTs.

18

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21
         A. Thomson Consumer’s Motion Fails Under In re Vitamins.
22

23           Thomson Consumer is correct in noting that little authority exists regarding its attempts

24   to dismember the conspiracy and carve-out pieces from its liability. This is unsurprising, since
25
     Thomson Consumer’s novel argument would defeat the goals of joint and several liability and
26
     instead artificially separate conspiracies into individual, case-by-case mini-conspiracies for each
27
     defendant. This is not the law.
28


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1
             Thomson Consumer relies almost exclusively on In re Vitamins Antitrust Litig., 320 F.
2
     Supp. 2d 1 (D.D.C. 2004), to support its argument.         Vitamins lays out the extremely high
3
     burdens Thomson Consumer faces before it can try to sever the pieces of the conspiracy. Id. at
4

5    15-17. To prevail against Thomson Consumer on the CDT-related damages, the DAPs must

6    ultimately show that:
7
             1. Thomson Consumer had knowledge that the conspiracy included CDTs;
8
             2. Thomson Consumer intended to join a conspiracy that included CDTs; and
9
             3. By joining the conspiracy that included CDTs, Thomson Consumer and its co-
10              conspirators were interdependent upon one another in that their respective benefit
                depended on the success of the single conspiracy containing both CPTs and CDTs.
11

12   Id. at 15. “Although plaintiffs must show that [Thomson Consumer] had knowledge of an

13   agreement as to the overall conspiracy, they need not show (1) evidence of a formal agreement,
14
     or (2) knowledge, on behalf of [Thomson Consumer], of every detail of the alleged conspiracy.”
15
     Id. The DAPs also do not need to provide direct evidence of the conspiracy. Id. (citing United
16
     States v. Consol. Packaging Corp., 575 F.2d 117, 126 (7th Cir. 1978)(“a common purpose and
17

18   plan may be inferred from a development and a collocation of the circumstances”) (internal

19   quote omitted).
20
             A party progresses from mere knowledge to intent when there is “informed and interested
21
     cooperation, stimulation, instigation. There is also a ‘stake in the venture’ which, even if it may
22
     not be essential, is not irrelevant to the question of conspiracy.” Id. (quoting Direct Sales Co. v.
23

24   United States, 319 U.S. 703, 719 (U.S.S.C. 1943)). “The inference that a defendant had reason

25   to believe that his benefits were dependent upon the success of the entire venture may be drawn
26
     from proof that the co-conspirators knew of each other's participation or actually benefitted from
27

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     the activities of his co-conspirators.” United States v. Duran, 189 F.3d 1071, 1080 (9th Cir.
2
     1999)(citing United States v. Arbelaez, 719 F.2d 1453, 1459 (9th Cir. 1983)).
3

4

5
             If anything, Vitamins counsels strongly in favor of denying Thomson Consumer’s motion
6
     for summary judgment. Thomson Consumer’s recitals of the Vitamins facts are largely accurate.
7

8    In short, plaintiffs had alleged an “all vitamins” conspiracy. Id. at 5. Four defendants who only

9    sold choline chloride—UCB, DuCoa, Bioproducts, and Chinook—moved for summary
10   judgment, challenging their broader liability for other vitamins in an “all vitamins” conspiracy.
11
     Id. at 6-8. The defendants did not move for summary judgment on the more limited choline
12
     chloride conspiracy (just as, here, Thomson Consumer does not move on the CPT conspiracy).
13

14   Id. at 10. Of the four defendants, the Court granted summary judgment to one and denied it to the

15   other three:
16           Defendant UCB: The Court found evidence that UCB had participating in price
17           fixing and allocation of the choline market. Plaintiffs were unable to present any
             evidence—direct or indirect—to support UCB’s knowledge or participation in an
18           “all vitamins” conspiracy. “The plaintiffs have provided no evidence that can
             satisfy even a very low burden of establishing that UCB at least knew of and
19           possibly participated in an all-vitamins conspiracy.”
20
             Defendant DuCoa: Two documents were more than sufficient to defeat summary
21           judgment as to this defendant. The first, a fax regarding a meeting between
             competitors, contained an agenda listing “overall market review” and discussion
22           of the choline chloride market as two separate items. “Although the term ‘overall
             market review’ is not defined, the Court can infer that this phrase relates to
23
             vitamins other than choline” because choline was listed as a separate agenda item.
24           The Court also noted that the competitor would lead the discussion and did not
             manufacture choline. “Although there is no evidence that this meeting actually
25           took place, that issue is immaterial to the Court’s analysis.” The second, another
             fax regarding a meeting with another competitor, contained a similar agenda with
26
             an item for the competitor to provide an “update on the global vitamin market
27           (demand and pricing) with a focus on vitamin E.”

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             Defendant Bioproducts: A single document containing meeting notes and one
2            employee’s testimony regarding a meeting defeated summary judgment. The
             notes were from a meeting between Bioproducts and a competitor, and the notes
3            contained “company-specific sales volumes for vitamins A, E, B2, C, and
             Calpan.” The notes also discussed “acceptable margins” for the “vitamin
4
             businesses.” Similarly, the employee testified that he was aware of the
5            conspiratorial agreements based on attending a meeting.

6            Defendant Chinook: Vague testimony from one witness defeated summary
             judgment. The employee testified that during a trip to Europe, he met with a
7            competitor and “on more than one occasion there was [sic] vitamin cartels
8            referred to…” The Court held that this testimony, coupled with Chinook’s
             participation in the choline conspiracy and viewed in the light most favorable to
9            the plaintiffs, was sufficient to create a fact issue and defeat summary judgment.
10   Id. at 19-23.
11
             Thomson Consumer compares itself to UCB—the one defendant for whom not a single
12
     document or piece of testimony existed that would even suggest or create the slightest inference
13
     that it might have known about anything broader than a choline conspiracy. Thomson Consumer
14

15   claims that the DAPs can similarly provide no evidence that could even suggest or create an

16   inference that Thomson Consumer knew of, intended to participate in, or was interdependent on
17
     a conspiracy that included CDTs.
18

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22                                                                                                Under
23
     Vitamins, the slightest hint of a broader conspiracy indicated in the conspiratorial evidence or
24
     meetings requires that summary judgment be denied. For instance, just two faxes received by
25
     defendant DuCoa were sufficient to defeat summary judgment because the mere mention of
26

27   choline separately from other vitamins created the inference that, perhaps, DuCoa knew of,

28   participated in, and was interdependent on an “all vitamins” conspiracy. Id. at 21-22.


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17           Moreover, Thomson Consumer’s arguments regarding the irrelevance of CDT

18   information and cartel activities to Thomson Consumer and Thomson SA and CPT
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     manufacturers ring hollow.
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14       C. The Rules of Continental Ore and Beltz Travel Service Apply Here.

15           The Supreme Court has held that “[t]he character and effect of a conspiracy are not to be

16   judged by dismembering it and viewing its separate parts, but only by looking at it as a whole.”
17
     Cont'l Ore Co., 370 U.S., 699. Thomson Consumer seeks to distinguish this unambiguous
18
     holding only by arguing that “[n]either Continental Ore nor Beltz Travel Service support DAPs’
19
     argument that they can overcome summary judgment even without specific evidence establishing
20

21   that Thomson Consumer knowingly participated in the alleged CDT conspiracy.” Mtn. at 18

22   (emphasis added).
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1
     As such, the rules of Continential Ore and Beltz Travel Service indisputably apply here, and
2
     prohibit Thomson Consumer from dismembering the CRT conspiracy and viewing the evidence
3
     in discrete, separate parts.
4

5                                           VI. CONCLUSION

6

7
                                                                 and Thomson Consumer has not
8
     conclusively established that no evidence exist as to Thomson Consumer’s knowledge of or
9
     participation in a conspiracy that included CDTs . The Court should deny Thomson Consumer’s
10

11   motion.

12           Dated: December 22, 2014
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1
                                     CERTIFICATE OF SERVICE
2
                  IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION
3                                Case No. CV-07-5944-SC
                                      MDL No. 1917
4

5            I, Kenneth S. Marks, declare:

6            I am employed in the County of Harris, State of Texas. I am over the age of 18 years and
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            On December 22, 2014, I served a true and correct copy of the following document(s) in
9    the manner indicated below:
10
     [ ]     BY U.S. MAIL: I caused the said document(s) to be deposition in the United States
11           mail, at Houston, Texas, in a sealed envelope with first-class postage thereon fully
             prepaid, to the addressee(s) named below: and
12   [X]     BY ELECTRONIC MAIL: I caused the said document(s) to be emailed to the offices
             and/or to attorneys of the offices of the addressee(s) named below.
13

14                                 SEE ATTACHED SERVICE LIST

15
     Dated: December 22, 2014                    Signed        /s/ Kenneth S. Marks
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                                                                Kenneth S. Marks
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